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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


  LINDA MCKINNEY,                           )
                                            )
                Plaintiff,                  )
                                            )
         v.                                 ) CAUSE NO. 1:18-CV-00335-RLY-TAB
                                            )
  SUPER BOWL PHO LLC                        )
  and LEO NGUYEN                            )
                                            )
                Defendants.                 )

                             MOTION FOR DEFAULT JUDGMENT

         Plaintiff, Linda McKinney, by counsel, moves the Court for a judgment by default

  against Defendants Super Bowl Pho LLC and Leo Nguyen. In support of this Motion

  and in advance of the damages hearing, the Plaintiff states as follows:

         1.     This matter is currently set for a hearing scheduled for August 14, 2019 at

  2:00 p.m. [Docket No. 15]

         2.     Plaintiff filed her original Complaint on February 5, 2018 against

  Defendants Super Bowl Pho LLC and Leo Nguyen. [Docket No. 1]

         3.     Plaintiff’s original Complaint alleged violations of the Fair Labor Standards

  Act, 29 U.S.C. §201, et seq. for Defendants’ failure to pay Plaintiff overtime. [Docket

  No. 1, ¶ 1]

         4.     Defendants were served with copies of the original Complaint and

  respective Summons on February 8, 2018. [Docket Nos. 5 and 6]

         5.     On the same date and immediately following service on Defendants,

  Defendant Leo Nguyen terminated Plaintiff’s employment. [“Amended Complaint”,

  Docket No. 7, ¶¶ 19 – 23] As a result, Plaintiff filed her Amended Complaint making
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  additional claims against Defendants, including retaliation under the FLSA, 29 U.S.C. §

  215(a)(3). Plaintiff also brings her overtime claims under the Indiana Minimum Wage

  Law of 1965, in the alternative. [Docket No. 7, ¶ 1]

           6.    On February 27, 2018, Plaintiff timely filed her Amended Complaint and

  served Defendants with the Amended Complaint on that same day via regular mail,

  making their response to Plaintiff’s Amended Complaint due on or before March 16,

  2018. [See Docket No. 7 and Fed. R. Civ. P. 15(a)] As of the date of this filing, neither

  Defendant has filed a responsive pleading to Plaintiff’s original Complaint or Amended

  Complaint.

           7.    On August 16, 2018, the Default of Defendants was entered pursuant to

  Fed. R. Civ. P. 55(a). [Docket Entry No. 13]

           8.    Defendants have failed to plead or otherwise defend against Plaintiff’s

  claims, and Plaintiff is entitled to entry of a default judgment, pursuant to Fed. R. Civ. P.

  55(b).

           9.    Upon information and belief, neither Defendant is an infant, incompetent

  or serving in the military.

           10.   Accordingly, Plaintiff files her Motion for Default Judgment.

           11.   Plaintiff’s damages are fully set out in the Plaintiff’s Memorandum and

  Submission of Evidence in Support of Motion for Default Judgment, filed

  contemporaneously herewith.

           12.   Plaintiff moves the Court to enter Judgment in her favor and against

  Defendants in the total amount of $11,364.20, calculated as follows:

                 a.     $620.85 in unpaid overtime wages pursuant to the FLSA 29 U.S.C.
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                        § 216(b);

                 b.     $620.85 in liquidated damages pursuant to FLSA 29 U.S.C. §

                        216(b);

                 c.     $1,800.00 in lost wages for Defendants’ violation of 29 U.S.C.

                        215(a)(3);

                 d.     $1,800.00 in liquidated damages for Defendants’ violation of 29

                        U.S.C. 215(a)(3);

                 e.     $6,522.50 in attorney’s fees and costs pursuant to FLSA 29 U.S.C.

                        § 216(b).



         WHEREFORE, the Plaintiff requests that the Court, enter judgment in favor of

  Plaintiff and against Defendants in the total amount of $11,364.20.

                                       Respectfully Submitted,

                                       s/ Robert J. Hunt
                                       Robert J. Hunt (#30686-49)
                                       Robert F. Hunt (#7889-84)
                                       The Law Office of Robert J. Hunt
                                       1905 South New Market Street, Suite 220
                                       Carmel, IN 46032
                                       E-Mail: rob@indianawagelaw.com
                                               rfh@indianawagelaw.com

                                       Attorneys for Plaintiff


                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing has been served this 13th

  day of August, 2019, by depositing a copy of the same in the United States mail, first class

  postage prepaid, and properly addressed to the following Defendants:
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       Super Bowl Pho LLC
       c/o Registered Agent Leo Nguyen
       112 E Main Street
       Westfield, IN 4607

       Leo Nguyen
       112 E Main Street
       Westfield, IN 46074


                                                   /s/Robert J. Hunt
                                                    Robert J. Hunt
